 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 1 of 28
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(Rev. 10/07) SIe 09

 

PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF = /
HABEAS CORPUS BY A PERSON IN STATE.CUSTODY :

 

 

 

 

 

 

 

 

 

 

 

 

United States District Court District: Western Dist. of Texas - El Pase Division
Name (under which you were convicted): Dockgt or Case No.:
JUSTEN GRANT HALL nw (3: lO0-e@V-00138S—
Place of Confinement : Prisoner No.:
Polunsky Unit, Texas Criminal Justice Department

999497

Petitioner (include the name under which you were convicted) Respondent (authorized person having custody of petitioner)

JUSTEN GRANT HALL ¥. RICK THALER, Director, Texas Dept. of Criminal

Justice, Correctional Institutions Division
The Attorney General of the State of Texas
PETITION

1. (a) Name and location of court that entered the judgment of conviction you are challenging:

The 34th Judicial Distrigh® aut;
El Paso County, Texas
2

 

*

ei,

(b) Criminal docket or case humber (ifyou know): 20030D00505
2. (a) Date of the judgment of conviction (if you know): 2/8/2005
(b) Date of sentencing: 2/18/2005

3. Length of sentence: Death Penalty
4, In this case, were you convicted on more than one count or of more than one crime? O Yes && No
5. Identify all crimes of which you were convicted and sentenced in this case:

Capital Murder.

6. (a) What was your plea? (Check one)
wt (1) Not guilty O (3) Nolo contendere (no contest)
O (2) Guilty Oo (4 Insanity plea

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falated mater rust S10 -6V~ 00213,
 

@AO 241
(Rev. 10/07)

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 2 of 28

(b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

you plead guilty to and what did you plead not guilty to?
N/A.

(c) If you went to trial, what kind of trial did you have? (Check one)
Jury 07 Judge only

Did you testify at a pretrial hearing, trial, or a post-trial hearing?
M Yes O No

Did you appeal from the judgment of conviction?
@ Yes O No

If you did appeal, answer the following:

(a) Name of court: | Texas Court of Criminal Appeals

(b) Docket or case number (if you know): = AP-75,121

(c) Result: Conviction affirmed

(d) Date of result (if you know): 6/27/2007

(e) Citation to the case (if you know): Hall v. State, AP-75,121 (Tex. Crim. App. June 27, 2007)

(f) Grounds raised:

Insufficient evidence to support verdict; trial court erred in: not suppressing certain evidence; not
suppressing confession; denying challenges for cause; limiting time for voir dire; not suppressing DNA
results; not giving jury instruction on lesser included offense of murder; not empaneling new jury for
punishment phase; not granting pre-trial motion for continuance; not instructing the jury regarding the
burden of proof for mitigation evidence; not granting additional peremptory strikes; and denying
defendant's motion to preclude the State from death-qualifying jurors.

(g) Did you seek further review by a higher state court? Oye MW No
If yes, answer the following:
(1) Name of court:
(2) Docket or case number (if you know):

(3) Result:

(4) Date of result (if you know):

 

Page 3
Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 3 of 28

BAO 241
(Rev. 10/07)

(5) Citation to the case (if you know):

(6) Grounds raised:

(kh) Did you file a petition for certiorari in the United States Supreme Court?
If yes, answer the following:
(1) Docket or case number (if you know):

(2) Result:

(3) Date of result (if you know):

(4) Citation to the case (if you know):

Page 4

O Yes WM No

10. Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

concerning this judgment of conviction in any state court? Yes
11. If your answer to Question 10 was "Yes," give the following information:

(a) (1) Name of court: | Texas Court of Criminal Appeals

CJ] No

(2) Docket or case number (if you know):  20030D0505-34-1 and WR-70,824-01

(3) Date of filing (if you know): 3/18/2007

(4) Nature of the proceeding: Application for writ of habeas corpus

(5) Grounds raised:

State's failure to provide material evidence; ineffective assistance of counsel; and evidence

did not support the conviction.

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?

MW Yes O No

(7) Result: Disposition by Court of Criminal Appeals (attached hereto).

(8) Date of result (if you know): 6/10/2009
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 4 of 28

BAO 241 Page 5
(Rev. 10/07)

(b) If you filed any second petition, application, or motion, give the same information:
(1) Name of court:
(2) Docket or case number (if you know):
(3) Date of filing (if you know):
(4) Nature of the proceeding:

(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
O Yes No
(7) Result:
(8) Date of result (if you know):
(c) If you filed any third petition, application, or motion, give the same information:
(1) Name of court:
(2) Docket or case number (if you know):
(3) Date of filing (if you know):
(4) Nature of the proceeding:

(5) Grounds raised:
Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 5 of 28

SAO 241 Page 6
(Rev. 10/07)

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?

O Yes 0 No

(7) Result:

(8) Date of result (if you know):
(d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,
or motion?

(1) First petition: (1 Yes Mf No

(2) Second petition: TM Yes O No

(3) Third petition: O Yes O No

(e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’ dismissal of application
for writ of habeas corpus on July 16, 2009.

12. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available state-court
remedies on each ground on which you request action by the federal court. Also, if you fail to set forth all the
grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE:
Petitioner's rights under the Fourteenth Amendment were violated by the State's misconduct in failing to
disclose material evidence favorable to him in violation of Brady

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner's due process rights under the Fourteenth Amendment were violated by the State’s failure to
disclose critical information concerning fact witnesses who testified against him. Specifically, the State withheld
material information conceming offers of immunity made to witnesses by both prosecutors and police officers in
exchange for testimony against the Petitioner at trial. The suppression of these tacit agreements deprived the
defense of the opportunity to properly impeach those witnesses. As such, the Petitioner is entitled to a new trial.
More detailed factual and legal support for this ground is set forth in the Memorandum in Support of Petition for
Writ of Habeas Corpus submitted herewith and incorporated herein by reference.

(b) If you did not exhaust your state remedies on Ground One, explain why:
N/A.

 
 

SAO 241
(Rev. 10/07)

(c)

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 6 of 28

Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue? Yes

(2) If you did not raise this issue in your direct appeal, explain why:
Issue was raised in state habeas proceeding.

(d) Post-Conyiction Proceedings:

Page 7

A No

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

M Yes 1 No
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition: Application for writ of habeas corpus.
Name and location of the court where the motion or petition was filed:
Texas Court of Criminal Appeals
Docket or case number (if you know): © 20030D0505-34-1 and WR-70,824-01
Date of the court's decision: 6/10/2009

Result (attach a copy of the court's opinion or order, if available):

Attached.
(3) Did you receive a hearing on your motion or petition? ‘ Yes
(4) Did you appeal from the denial of your motion or petition? ' 1 Yes

(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? [ Yes
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court’s opinion or order, if available):

O No
at No
O No

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’ dismissal of application

for writ of habeas corpus on July 16, 2009.
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 7 of 28

®@AO 241 Page 8
(Rev. 10/07)

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

used to exhaust your state remedies on Ground One:
The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’ dismissal of application for writ of
habeas corpus on July 16, 2009.

GROUND TWO:
Petitioner's conviction violates the Fifth and Fourteenth Amendments because the trial court erred in denying
the motion to suppress petitioner's involuntary confession

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner's conviction violates the Fifth and Fourteenth Amendments because the trial court erred in
denying the motion to suppress the Petitioner's involuntary confession. The record evidence demonstrates that
the Petitioner’s confession was obtained under a totality of circumstances evidencing an involuntary admission
of guilt. At the time his statement was coerced, the police had deliberately withheld prescription medications
needed to treat the symptoms of his mental illness, including schizophrenia, depression, and anxiety disorders.
The Petitioner was also suicidal, had not slept in days, and was experiencing the after effects of a weeks-long
methamphetamine binge. Despite knowledge of the Petitioner's state of mind, the police proceeded to engage
him in casual conversation, without any Miranda warnings, before asking the Petitioner directly if he had
committed the murder. Only then, after obtaining the answer he had sought, did the detective conducting the
interrogation advise the Petitioner of his Miranda rights and proceed to extract a detailed statement. Such
deliberate and coercive circumvention of the Petitioner's rights is not permitted under the Fifth and Fourteenth
Amendments. More detailed factual and legal support for this ground is set forth in the accompanying
Memorandum in Support of Petition for Writ of Habeas Corpus.

(b) If you did not exhaust your state remedies on Ground Two, explain why:

N/A.

(c) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue? M@ Yes O No

(2) If you did not raise this issue in your direct appeal, explain why:

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
O yes @ No
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

Date of the court's decision:
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 8 of 28

BAO 241 Page 9
(Rev. 10/07)

Result (attach a copy of the court's opinion or order, if available):

(3) Did you receive a hearing on your motion or petition? O Yes No
(4) Did you appeal from the denial of your motion or petition? 1 Yes O No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? © Yes O No
(6) If your answer to Question (d)(4) is "Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) lf your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you :

have used to exhaust your state remedies on Ground Two

GROUND THREE:
Petitioner's conviction violates the Sixth Amendment because the petitioner's lead trial counsel slept during the

guilt / innocence phase of the trial

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner's conviction violates the Sixth Amendment guarantee of effective assistance of counsel in light of
uncontroverted evidence that the Petitioner's lead trial counsel slept during portions of the guiltfinnocence phase
of the trial. Several jurors noted that Petitioner's lead counsel, Frank Macias, slept during the examination of
witnesses. This not only deprived the Petitioner of his counsel's assistance during the trial, it also left the jurors
with the highly prejudicial impression that the Petitioner's own lawyer was not engaged or interested in the
defense of his client. Mr. Macias’s sleeping violated the fundamental principle of fairness in the adversarial
process and is per se ineffective under the governing law of this Circuit. More detailed factual and legal support
for this ground is set forth in the accompanying Memorandum in Support of Petition for Writ of Habeas Corpus.
 

SAO 241
(Rev. 10/07)

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 9 of 28

Page 10

(b) If you did not exhaust your state remedies on Ground Three, explain why?
Factual basis for claim was recently discovered.

(c)

(d)

Direct Appeal of Ground Three:
(1) If you appealed from the judgment of conviction, did you raise this issue? O Yes @ No

(2) If you did not raise this issue in your direct appeal, explain why:
Factual basis for claim was recently discovered.

Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
O Yes No

(2) If your answer to Question (d)(1) is "Yes," state:

Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(3) Did you receive a hearing on your motion or petition? O Yes No
(4) Did you appeal from the denial of your motion or petition? O Yes O No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? O Yes [1 No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

 
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 10 of 28

BAO 241 Page 11
(Rev. 10/07)

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Three:

GROUND FOUR:
Petitioner's conviction violates the Fifth and Fourteenth Amendments because the trial court erred in denying
the petitioner's motion for a continuance

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner's conviction violates his constitutional right to due process because the trial court arbitrarily
denied the Petitioner's request for a short continuance before trial. The Petitioner sought a continuance of less
than a month in order to: 1) undergo evaluation by an expert addictionologist; 2) conduct DNA testing of
physical evidence that the State had not tested; and 3) conduct interviews with fact witnesses who were called
to testify against the Petitioner. The trial court's denial of the continuance prevented the Petitioner from taking
these steps, and thus prevented him from being able to prepare his defense, which is a fundamental element of
due process. As such, the Petitioner is entitled to a new trial. More detailed factual and legal support for this
ground is set forth in the Memorandum in Support of Petition for Writ of Habeas Corpus submitted herewith and
incorporated herein by reference.

(b) If you did not exhaust your state remedies on Ground Four, explain why:

N/A.

(c) Direct Appeal of Ground Four:
(1) If you appealed from the judgment of conviction, did you raise this issue? @ ves 1 No

(2) If you did not raise this issue in your direct appeal, explain why:

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
O yes @& No
(2) If your answer to Question (d)(1) is "Yes," state:

Type of motion or petition:
 

SAO 241
(Rey. 10/07)

(e)

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 11 of 28

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(3) Did you receive a hearing on your motion or petition? O Yes
(4) Did you appeal from the denial of your motion or petition? [ Yes
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? [J Yes
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

Page 12

O No
[ No

1 No

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Four:
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 12 of 28

SAO 241 Page 13
(Rev. 10/07)
13. Please answer these additional questions about the petition you are filing:
(a) Have all grounds for relief that you have raised in this petition been presented to the highest state court

having jurisdiction? © Yes & No
If your answer is "No," state which grounds have not been so presented and give your reason(s) for not

presenting them:

Ground Three - Petitioner's conviction violates the Sixth Amendment because the petitioner's
lead trial counsel slept during the guilt / innocence phase of the trial. The factual basis for
this claim was recently discovered.

(b) Is there any ground in this petition that has not been presented in some state or federal court? If so,

ground or grounds have not been presented, and state your reasons for not presenting them:

Ground Three - Petitioner's conviction violates the Sixth Amendment because the petitioner's
lead trial counsel slept during the guilt / innocence phase of the trial. The factual basis for
this claim was recently discovered.

14. Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction
that you challenge in this petition? O ves @& No
If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues
raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

of any court opinion or order, if available.

15. Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for
the judgment you are challenging? Cl Yes No
If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the

raised.
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 13 of 28

BAO 241 Page 14
(Rev. 10/07)

16. Give the name and address, if you know, of each attorney who represented you in the following stages of the
judgment you are challenging:

(a) At preliminary hearing:

Frank Macias, Jaime Olivas and Charles McDonald
1000 North Campbell, El Paso, TX 79901

(b) At arraignment and plea:

Frank Macias, Jaine Olivas and Charles McDonald
1000 North Campbell, El Paso, TX 79901

(c) At trial:

Frank Macias and Charles McDonald
1000 North Campbell, El Paso, TX 79901

(d) At sentencing:

Frank Macias and Charles McDonald
1000 North Campbell, El Paso, TX 79901

(e) On appeal:

Louis Lopez
416 North Stanton, 4th Floor, Suite 400, El Paso, TX 79901

(f) In any post-conviction proceeding:

Robin Norris
2408 Fir Street, El Paso, TX 79925

(g) On appeal from any ruling against you in a post-conviction proceeding:

Robin Norris
2408 Fir Street, El Paso, TX 79925

17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are

challenging? 1 Yes iM No

(a) If so, give name and location of court that imposed the other sentence you will serve in the future:

(b) Give the date the other sentence was imposed:
(c) Give the length of the other sentence:
(d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the
future? O Yes Z No
18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*
N/A.
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 14 of 28

@AO0 241 Page 15
(Rev. 10/07)

 

* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in
part that:

(1) A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

(A) the date on which the judgment became final by the conclusion of direct review or the expiration
of the time for seeking such review;

(B) the date on which the impediment to filing an application created by State action in violation of
the Constitution or laws of the United States is removed, if the applicant was prevented from
filing by such state action;

(C) the date on which the constitutional right asserted was initially recognized by the Supreme
Court, if the right has been newly recognized by the Supreme Court and made retroactively
applicable to cases on collateral review; or

(D) the date on which the factual predicate of the claim or claims presented could have been
discovered through the exercise of due diligence.
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 15 of 28

BAO 241 . Page 16
(Rev. 10/07)

(2) The time during which a properly filed application for State post-conviction or other collateral review
with respect to the pertinent judgment or claim is pending shall not be counted toward any period of
limitation under this subsection.

Therefore, petitioner asks that the Court grant the following relief:

issue a writ of habeas corpus that Mr. Hall may be discharged from his unconstitutional confinement and
restraint and/or relieved of his unconstitutional sentence of death; grant Mr. Hall further discovery and an
evidentiary hearing at which he may present evidence in support of his claims; direct that the record in this case
be expanded to include additional materials relevant to the determination of the merits of the petition;

or any other relief to which petitioner may be entitled.

Lo

ZZ
Lr Signature of Attorney (if any)

I declare (or certify, verify, or nate under penalty of perjury that the foregoing is true and correct and that this Petition for
le

oA
Writ of Habeas Corpus was placedin-the-prison- matting system-on SUA e lp C | O (month, date, year).

Executed (signed) on un e 10 Ac O (date).

ga

Signature of Petitioners Counsel | QQ \Wiam Craven 5
If the person signing is not petitioner, state a to petitioner and explain why petitioner is not signing this petition.

Petitioner consulted with counsel of record in preparation of the Petition and authorized the verification and
submission of the Petition on his behalf.
Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 16 of 28

ADDITIONAL GROUNDS

GROUND FIVE: Petitioner’s Conviction and Sentence of Death Violate the Due Process Clause
of the United States Constitution Because the Evidence Adduced at Trial was Insufficient to
Prove that the Petitioner Murdered the Victim in the Course of Committing or Attempting to
Commit the Offense of Retaliation.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner’s conviction and sentence of death violate the due process clause because the
evidence at trial was insufficient to prove that the Petitioner murdered the victim in the course of
committing or attempting to commit the offense of retaliation. Indeed, the testimony of the
State’s own witnesses clearly demonstrates the lack of evidence sufficient for a rational jury to
find beyond a reasonable doubt that the Petitioner killed Melanie Billhartz in order to prevent her
from reporting the occurrence of a crime to the authorities, as required by Texas Penal Code
Ann. § 36.06. More detailed factual and legal support for this ground is set forth in the
Memorandum in Support of Petition for Writ of Habeas Corpus submitted herewith and
incorporated herein by reference.

(b) If you did not exhaust your state remedies on Ground Five, explain why:
N/A.

(c) Direct Appeal of Ground Five:

(1) If you appealed from the judgment of conviction, did you raise this issue? Yes
(2) If you did not raise this issue in your direct appeal, explain why:
(d) Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial
court?

Yes
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition: Application for writ of habeas corpus.

Name and location of the court where the motion or petition was filed: Texas Court of Criminal
Appeals

Docket or case number (if you know): 20030D0505-34-1 and WR-70,824-01
Date of the court's decision: June 10, 2009.

Result (attach a copy of the court's opinion or order, if available): Attached

A/T3404303.1

 
Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 17 of 28

(3) Did you receive a hearing on your motion or petition? Yes

(4) Did you appeal from the denial of your motion or petition? No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that
you have used to exhaust your state remedies on Ground Five:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009

GROUND SIX: Petitioner’s Sentence of Death Violates The Sixth Amendment Because Trial
Counsel Failed to Investigate and Present Substantial, Readily Available Evidence in Mitigation
of the Death Penalty.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner’s sentence of death violates the Sixth Amendment because trial counsel failed to
investigate and present substantial, readily available evidence in mitigation of the death penalty.
Specifically, trial counsel failed to investigate and present overwhelming and powerful evidence
of childhood abuse, neglect, and mental illness. Such evidence was material, and would have
caused at least one juror to have decided the Petitioner’s fate differently had she been informed
of the Petitioner’s compelling, tragic, and sympathetic personal story. More detailed factual and
legal support for this ground is set forth in the Memorandum in Support of Petition for Writ of
Habeas Corpus submitted herewith and incorporated herein by reference.

(b) If you did not exhaust your state remedies on Ground Six, explain why:
N/A.
(c) Direct Appeal of Ground Six:

(1) If you appealed from the judgment of conviction, did you raise this issue? No

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(d)

(e)

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 18 of 28

(2) If you did not raise this issue in your direct appeal, explain why:

Issue was raised in state habeas proceeding.
Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial
court?
Yes
(2) If your answer to Question (d)(1) is "Yes," state:

Type of motion or petition: Application for writ of habeas corpus.

Name and location of the court where the motion or petition was filed: Texas Court of Criminal
Appeals

Docket or case number (if you know): 20030D0505-34-1 and WR-70,824-01

Date of the court's decision: June 10, 2009

Result (attach a copy of the court's opinion or order, if available):
(3) Did you receive a hearing on your motion or petition? Yes

(4) Did you appeal from the denial of your motion or petition? No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that
you have used to exhaust your state remedies on Ground Six:

A/73404303.1
Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 19 of 28

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

GROUND SEVEN: Petitioner’s Sentence of Death Violates The Sixth Amendment Because Trial
Counsel Argued to the Jury, Without Any Plausible Tactical Reason and Contrary to Evident
Defensive Strategy, That Petitioner Deserved To Die for his Alleged Crime.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner’s death sentence violates the Sixth Amendment because Petitioner was deprived
of the effective assistance of counsel at the punishment phase of his trial when trial counsel
argued to the jury that the Petitioner deserved to die. Trial counsel’s bizarre and highly
prejudicial comments to the jury completely sabotaged any opportunity for effective assistance
of counsel during the punishment phase of his trial, and undermined even the poor mitigation
case that trial counsel had presented. The Petitioner was thus prejudiced by his counsel’s
unprofessional performance, and in accordance with Strickland principles, his petition for relief
should be granted. More detailed factual and legal support for this ground is set forth in the
Memorandum in Support of Petition for Writ of Habeas Corpus submitted herewith and
incorporated herein by reference.

(b) If you did not exhaust your state remedies on Ground Seven, explain why:
N/A,

(c) Direct Appeal of Ground Seven:

(1) If you appealed from the judgment of conviction, did you raise this issue? No

(2) If you did not raise this issue in your direct appeal, explain why:

Issue was raised in state habeas proceeding.

(d) Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial
court?

Yes
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition: Application for writ of habeas corpus.

Name and location of the court where the motion or petition was filed: Texas Court of Criminal
Appeals

A/73404303.1
Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 20 of 28

Docket or case number (if you know): 20030D0505-34-1 and WR-70,824-01

Date of the court's decision: June 10, 2009

Result (attach a copy of the court's opinion or order, if available): Attached

(3) Did you receive a hearing on your motion or petition? Yes

(4) Did you appeal from the denial of your motion or petition? No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that
you have used to exhaust your state remedies on Ground Seven:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

GROUND EIGHT: Petitioner’s Death Sentence Violates the Sixth Amendment Because Trial
Counsel Relinquished Two Peremptory Challenges Against Objectionable Jurors by Failing to
Require That Each Eligible Juror Be Passed for Preemptory Challenge First by the Prosecution.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner’s sentence of death violates the Sixth Amendment because trial counsel
inexplicably relinquished two preemptory challenges against objectionable jurors by failing to
follow the procedures set forth in Article 35.13 of the Texas Code of Criminal Procedure. Under
that provision, the State is required to exercise challenges for cause and peremptory strikes to
potential jurors before a capital defendant exercises his. This allows the defendant to maximize
his use of peremptory strikes by only having to strike objectionable jurors who cannot be
challenged for cause, but who the State has accepted. Petitioner’s trial counsel, however,
unreasonably, and without any strategic or tactical motive, made an agreement with the State to
exercise simultaneous and independent peremptory strikes. As a result of this agreement, at least
two jurors who demonstrated improper bias were permitted to serve on the panel that delivered

A/73404303.1

 
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 21 of 28

the Petitioner’s death sentence. More detailed factual and legal support for this ground is set
forth in the Memorandum in Support of Petition for Writ of Habeas Corpus submitted herewith
and incorporated herein by reference.

(b) If you did not exhaust your state remedies on Ground Eight, explain why:
N/A.

(c) Direct Appeal of Ground Eight:

(1) If you appealed from the judgment of conviction, did you raise this issue? No

(2) If you did not raise this issue in your direct appeal, explain why:
Issue was raised in state habeas proceeding.

(d) Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial
court?

Yes
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition: Application for writ of habeas corpus.

Name and location of the court where the motion or petition was filed: Texas Court of Criminal
Appeals

Docket or case number (if you know): 20030D0505-34-1 and WR-70,824-01
Date of the court's decision: June 10, 2009

Result (attach a copy of the court's opinion or order, if available): Attached

(3) Did you receive a hearing on your motion or petition? Yes
(4) Did you appeal from the denial of your motion or petition? No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

A/73404303.1
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 22 of 28

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that
you have used to exhaust your state remedies on Ground Eight:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

GROUND NINE: Petitioner’s Death Sentence Violates the Sixth Amendment Because Trial
Counsel Agreed to Excuse Death-Qualified Venire Members Who Were Opposed to Capital
Punishment Without Questioning Them.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner’s death sentence violates the Sixth Amendment because trial counsel agreed to
excuse without questioning death-qualified venire members who had indicated opposition to
capital punishment. This decision was by no means required — the law permits individuals
opposed to the death penalty to serve as long as they are able to obey the oath they must take as
jurors. Thus, the venire members in question were not per se unqualified. Yet, without any
reasonable explanation or justification, the Petitioner’s trial counsel agreed to excuse, without
questioning, numerous potential jurors who were opposed to the death penalty. Taken in tandem
with the fact that trial counsel was later denied nine challenges for cause and a motion for a
mistrial based on the lack of qualified jurors, it is clear that this decision was both unreasonable
and highly prejudicial. More detailed factual and legal support for this ground is set forth in the
Memorandum in Support of Petition for Writ of Habeas Corpus submitted herewith and
incorporated herein by reference.

(b) If you did not exhaust your state remedies on Ground Nine, explain why:
N/A,

(c) Direct Appeal of Ground Nine:

(1) If you appealed from the judgment of conviction, did you raise this issue? No

(2) If you did not raise this issue in your direct appeal, explain why:
Issue was raised in state habeas proceeding.

(d) Post-Conviction Proceedings:

A/73404303.1
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 23 of 28

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial
court?

Yes
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition: Application for writ of habeas corpus.

Name and location of the court where the motion or petition was filed: Texas Court of Criminal
Appeals

Docket or case number (if you know): 20030D0505-34-1 and WR-70,824-01

Date of the court's decision: June 10, 2009

Result (attach a copy of the court's opinion or order, if available): Attached

(3) Did you receive a hearing on your motion or petition? Yes
(4) Did you appeal from the denial of your motion or petition? No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that
you have used to exhaust your state remedies on Ground Nine:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

A/73404303.1
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 24 of 28

GROUND TEN: Petitioner’s Sentence of Death Violates the Sixth Amendment Because Trial
Counsel Failed to Object to the Court’s Failure to Instruct Numerous Venire Members as
Required by Texas Code of Criminal Procedure Art. 35.17(2).

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The Petitioner’s sentence of death violates the Sixth Amendment because trial counsel failed to
object to the trial court’s failure to instruct numerous venire members as required by Texas Code
of Criminal Procedure Article 35.17(2). Under that provision, a capital trial court is required to
“propound to the entire panel of prospective jurors questions concerning the principles, as
applicable to the case on trial, of reasonable doubt, burden of proof, return of indictment by
grand jury, presumption of innocence, and opinion.” A court’s failure to administer such
questions constitutes reversible error when a capital defendant is denied a federal right as a
result. In the instant case, the judge presiding over voir dire examinations failed to question the
jury regarding the Article 35.17(2) principles before allowing the State and the Petitioner’s trial
counsel to proceed with their voir dire examinations. Petitioner’s trial counsel failed to object to
the deviation from statutory procedure. As a result, at least one juror with questions regarding
the principle of reasonable doubt was seated on the jury that delivered Mr. Hall’s death sentence.
More detailed factual and legal support for this ground is set forth in the Memorandum in
Support of Petition for Writ of Habeas Corpus submitted herewith and incorporated herein by
reference.

(b) If you did not exhaust your state remedies on Ground Ten, explain why:
N/A.

(c) Direct Appeal of Ground Ten:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue? No

(2) If you did not raise this issue in your direct appeal, explain why:

Issue was raised in state habeas proceeding.

(d) Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial
court?

Yes
(2) If your answer to Question (d)(1) is "Yes," state:
Type of motion or petition: Application for writ of habeas corpus.

Name and location of the court where the motion or petition was filed: Texas Court of Criminal
Appeals

A/73404303.1

 
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 25 of 28

Docket or case number (if you know): 20030D0505-34-1 and WR-70,824-01

Date of the court's decision: June 10, 2009

Result (attach a copy of the court's opinion or order, if available): Attached

(3) Did you receive a hearing on your motion or petition? Yes
(4) Did you appeal from the denial of your motion or petition? No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court's decision:

Result (attach a copy of the court's opinion or order, if available):

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that
you have used to exhaust your state remedies on Ground Ten

The Petitioner filed a Motion for Reconsideration of Court of Criminal Appeals’
dismissal of application for writ of habeas corpus on July 16, 2009.

A/73404303.1
Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 26 of 28
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IN THE COURT OF CRIMINAL APPEALS
OF TEXAS

 

NO. WR-70,834-01

 

EX PARTE JUSTEN GRANT HALL

 

ON APPLICATION FOR WRIT OF HABEAS CORPUS IN CAUSE

NO. 20030D00505-34-1 IN THE 34TH JUDICIAL DISTRICT COURT

http://www.cca. courts. state. tx.us/OPINIONS/HTMLOPINIONINFO.ASP?OPINIONID= 18477 (1 of 3) [6/4/2010 2:23:11 PM]
 

Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 27 of 28
Texas Judiciary Online - HTML Opinion

EL PASO COUNTY

 

Per Curiam. Price and Womack, JJ., would remand.

ORDER

We have before us a post-conviction application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure article 11.071 and a motion to dismiss that

application

In February 2005, a jury convicted applicant of the offense of capital murder. The jury answered the
special issues submitted pursuant to Article 37.071, and the trial court, accordingly, set punishment at
death. This Court affirmed applicant's conviction and sentence on direct appeal. Hall v. State, No. AP-
75,121 (Tex. Crim. App. June 27, 2007)(not designated for publication).

Under Article 11.071, § 4, an applicant's initial writ application must be filed in the trial court not later
than the 45th day after the date the State's brief is filed on direct appeal with the possibility of a one-time
90-day extension. See Art. 11.071, § 4(a) and (b). Assuming counsel filed a timely motion for an
extension, applicant's initial application was due in the trial court on or before March 22, 2007. Counsel
filed applicant's application in the trial court on March 19, 2007.

On August 22, 2008, before the application and accompanying record were forwarded to this Court,
applicant sent the trial court a letter in which he stated that he wanted to "drop [his] remaining appeals."
Thus, applicant indicated his desire to waive his right to habeas review.{2) Apparently pursuant to this
request, applicant's counsel filed, in both the trial court and in this Court, a motion to dismiss the
application and to have applicant evaluated for competency to make such a decision. The trial court then
appointed two experts to evaluate applicant.

On March 6, 2009, the trial court held a hearing on applicant's request to waive his appeals and counsel's
motion to dismiss the application. Applicant clarified during this hearing that he did not want to waive
habeas review. However, he did want the court to dismiss the application filed by counsel Robin Norris
in its entirety and to allow him to proceed pro se to file his own writ. Both counsel and the court
discouraged applicant from this action and warned him that such an action would likely result in a
procedural bar to further habeas claims. Applicant persisted in his desire to dismiss the application and to
proceed pro se. The court found, pursuant to the reports of the two experts, that applicant was competent
to make this decision. Thus, the court removed Norris as counsel, appointing him instead as "support

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Case 3:10-cv-00135-FM Document 27 Filed 06/10/10 Page 28 of 28
Texas Judiciary Online - HTML Opinion
counsel," and recommended to this Court that applicant's application be dismissed. The trial court then
ordered that the case should be forwarded to this Court.

On March 31, 2009, applicant sent a letter to this Court and the trial court in which he asks (1) that the
trial judge withdraw his recommendation to dismiss the application; (2) that the judge remove Robin
Norris as his "support counsel"; (3) that the courts provide him a copy of "[his] case"; and (4) if a hearing
must be held, that it be done via conference call without bench warranting him back to the county.
Despite the apparent change in attitude regarding whether the currently filed writ application should be
dismissed, applicant still maintains in this letter that he wants his attorney dismissed and he wants to be
allowed to represent himself.

If applicant's intent is to start over and file a pro se initial writ application, or even to supplement or
amend the already filed application, his request comes far too late. An initial application has been filed,
and the statutory time for filing has passed. Any pro se document filed at this stage, whether replacing
the originally filed application or attempting to supplement it with additional claims, will be considered a
subsequent application subject to review under Article 11.071, § 5. Nonetheless, applicant is certainly
free to file a subsequent application, and it will be reviewed according to the dictates of the statute.

Meanwhile, the question before the Court is whether to dismiss the attorney-filed writ application.
Applicant, during the hearing in the trial court, persisted in his request that the attorney-filed initial
application be dismissed. He also persisted, and continues to persist, that his appointed counsel be
dismissed. Finally, the trial court's appointed experts both opined that applicant was competent to make
these decisions. For these reasons, we will defer to the trial court's recommendation. The application for
writ of habeas corpus filed in the trial court on March 19, 2007, is dismissed.

IT IS SO ORDERED THIS THE 1074 DAY OF JUNE, 2009.

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1. Any further references to Articles refer to the Texas Code of Criminal Procedure unless otherwise
specified.

2. It is unclear from the record before us whether applicant expressed a desire to waive habeas review
prior to this point.

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